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Not for Publication

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




 FRITZ GERALD TOUSSAINT,
                Plaintiff,                                       Civil Action No. 22-02448

        v.
                                                                   OPINION & ORDER

 CAPITAL ONE FINANCIAL SERVICES,
                Defendant.



John Michael Vazquez, U.S.D.J.

       On May 16, 2022, the Court entered an opinion and order granting pro se Plaintiff Fritz

Gerald Toussaint’s application for proceed in forma pauperis and dismissing his Complaint

pursuant to 28 U.S.C. § 1915(e)(2)(B), D.E. 6; and it

       APPEARING that the Court dismissed the Complaint without prejudice and provided

Plaintiff thirty (30) days to file an amended pleading that cured the noted deficiencies. The opinion

and order further stated that if Plaintiff failed to file an amended pleading within thirty days, the

claims would be dismissed with prejudice, id.; and it further

       APPEARING that Plaintiff has not yet filed an amended pleading;

       Accordingly, for the reasons set forth above and for good cause shown,

       IT IS on this 8th day of July, 2022,

       ORDERED that the Complaint is DISMISSED with prejudice; and it is further

       ORDERED that the Clerk of the Court is directed to close this matter.
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                                  ___________________________________
                                   John Michael Vazquez, U.S.D.J.




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